       Case 1:15-cr-00646-JKB         Document 120        Filed 03/30/20        Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *

UNITED STATES OF AMERICA,                        *

                                                 *

       v.                                        *                  CRIM. NO. JKB-15-0646

DONTE WILLIAMS,                                  *

                                                 *
        *      *      *       *       *      *       *      *       *       *       *      *

                                  MEMORANDUM ORDER

       The Defendant Donte Williams was sentenced to a period of 72 months’ imprisonment

after he pleaded guilty to conspiracy to distribute narcotics. He has been designated by the Bureau

of Prisons (“BOP”) to serve the remainder of that sentence at a Volunteers of America (“VOA”)

halfway house with a projected release date of June 25, 2020. He has now filed an Emergency

Motion for Immediate Transfer to Home Confinement (ECF No. 118) in light of the Coronavirus,

known as COVID-19, Pandemic Crisis.          See In re: Court Operations Under the Exigent

Circumstances Created by COVID-19, Case 1:00-mc-00308, Standing Order 2020-05 (D. Md.

Mar. 20, 2020.) The Government has filed its opposition to this Motion. (ECF No. 119.) The

matter has been briefed and no hearing is necessary. See Local Rules 105.6, 207 (D. Md. 2018).

For the reasons set forth below, the Motion will be DENIED.

       Pursuant to 18 U.S.C. § 3582(c)(1)(A), a district court may modify a convicted defendant’s

sentence when “extraordinary and compelling reasons warrant such a reduction.” However, a

defendant may only move for a reduction under § 3582(c)(1)(A) after he or she “has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion




                                                 1
       Case 1:15-cr-00646-JKB         Document 120         Filed 03/30/20      Page 2 of 3



on the defendant’s behalf or [after] the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.” The Court of Appeals for the Fourth

Circuit has been very firm that a court is without the authority to modify a sentence except in

conformity with the specific circumstances and procedures established by § 3582. See United

States v. Goodwyn, 596 F.3d 233 (4th Cir. 2010) (a court “‘may not modify a term of imprisonment

once it has been imposed’” unless expressly permitted by statute) (quoting § 3582).

       The Fourth Circuit has not ruled on whether the requirements in § 3582(c)(1)(A) are

jurisdictional, and this Court need not make that determination to resolve this motion. It is

sufficient for purposes of this motion that § 3582(c)(1)(A) mandates that the defendant exhaust his

or her administrative remedies prior to seeking relief in this Court. See Ross v. Blake, 136 S. Ct.

1850, 1857 (2016) (finding that “mandatory exhaustion statutes . . . establish mandatory exhaustion

regimes, foreclosing judicial discretion”); United States v. Monzon, Crim. No. DLC-99-157, 2020

WL 550220, at *2 (S.D.N.Y. Feb. 4, 2020) (denying motion for reduction of sentence because

defendant failed to exhaust his administrative remedies, but declining to decide whether exhaustion

requirement is jurisdictional).   As such, because Williams has not pursued the procedure

established by § 3582(c)(1)(A), this Court may not grant a motion to modify his sentence.

       Furthermore, it is inherently the authority of the Bureau of Prisons to transfer an inmate to

home confinement, pursuant to 18 U.S.C. § 3624(c). That section specifically provides that “[t]he

authority under this subsection may be used to place a prisoner in home confinement for the shorter

of ten percent of the term of imprisonment of that prisoner or six months.”

       As a final matter, the Court notes the existence of recent Orders of this Court granting

immediate early releases with respect to other individuals confined at VOA. See, e.g., United

States v. Valleria Rice, RDB-17-0127, ECF No. 506 (D. Md. Mar. 19, 2020); United States v.




                                                2
       Case 1:15-cr-00646-JKB           Document 120       Filed 03/30/20   Page 3 of 3



Demario King, DKC-16-0484, ECF No. 1472 (D. Md. Mar. 20, 2020); United States v. Erica

Cook, JKB-16-0485, ECF No. 1727 (D. Md. Mar. 20, 2020); United States v. Douglina Battle,

DKC-18-0350, ECF No. 89 (D. Md. Mar. 23, 2020). These releases were initially not opposed by

the Government, but the Government has now reversed its position and is filing Motions for

Reconsideration of those Orders.

        The Court acknowledges the very real danger posed by the COVID-19 pandemic and

Williams’s legitimate concerns about his living situation. However, this Court is limited by the

existing statutory authority in the relief it may grant.

        Accordingly, Williams’s Emergency Motion for Immediate Transfer to Home

Confinement (ECF No. 118) is DENIED. The Court urges William to pursue the procedures

established by § 3582(c)(1)(A) to seek his requested relief.



DATED this 27th day of March, 2020.



                                                BY THE COURT:


                                                                   /s/

                                                James K. Bredar
                                                Chief Judge




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